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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

In re the case of:

     IN THE STATE COURT OF DOUGHERTY COUNTY, GEORGIA

CANDACE J. THOMAS and DUDLEY               *
THOMAS, III, individually and as parents   *
of DARIUS M. THOMAS, deceased and          *
CANDACE J. THOMAS and DUDLEY               *
THOMAS, III, as administrators of the      *
ESTATE OF DARIUS M. THOMAS,                *
                                           *
       Plaintiffs,                         *
                                           *
       vs.                                 *    CIVIL ACTION NO.: 17 SCV 80
                                           *
PHOEBE PUTNEY HEALTH SYSTEM,               *
INC., PHOEBE PUTNEY HEALTH                 *
VENTURES, INC., PHOEBE PUTNEY              *
MEMORIAL HOSPITAL, INC., PHOEBE            *
PHYSICIAN GROUP, INC., ALBANY              *
AREA PRIMARY HEALTHCARE, INC.,             *
and CHERYL G. TOLLIVER, M.D.,              *
                                           *
       Defendants.                         *



                             NOTICE OF REMOVAL
                           NOTICE OF SUBSTITUTION

TO: The United States District Court for the Middle District of Georgia,
    Albany Division


                                      REMOVAL

       PLEASE TAKE NOTICE THAT pursuant to 42 U.S.C. §§ 233(a) and

233(c) and on behalf of Defendants named above Albany Area Primary Health

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Care, Inc. (hereinafter AAPHC); Dr. Cheryl G. Tolliver (hereinafter Dr. Tolliver),

and for the United States of America, Charles E. Peeler, United States Attorney for

the Middle District of Georgia, by and through his designee Assistant United States

Attorney for the Middle District of Georgia Stewart R. Brown, respectfully submits

this Notice of Removal and in support and explanation thereof shows:

       1.      AAPHC and Dr. Tolliver are hereinafter referred to as the Federal

Defendants. By removing this case on their behalf, the United States does not

admit that they or it are subject to the jurisdiction of the Court or that they have

been properly served. The effect of removal is to simply establish that the suit

against them should have only been filed in the United States District Court for the

Middle District of Georgia and named only the United States as a Defendant in

their stead.

       2.      The above-captioned State Court of Dougherty County, Georgia case

in which the Federal Defendants are named therein as among the Defendants was

pending in that Court prior to the filing of the within, and no trial has been had or

set. Copies of the entire record in that action are attached to this Notice of

Removal as Exhibit A, consisting of 154 pages as of May 4, 2018.

       3.      Discussed more fully hereinafter, the Federal Defendants are deemed

employees of the Public Health Service and the complaint against them in the State

Court of Dougherty County, Georgia shows that they are being sued by the


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plaintiff for actions they took while acting in that capacity in the course and scope

of their employment.

      4.      The plaintiff in the above-captioned State Court action seeks damages

from the defendants for alleged negligent acts or omissions in the course and scope

of their employment in allegedly providing care to Darius M. Thomas.

      5.      Congress has provided in 42 U.S.C. § 233(a) that the exclusive

remedy for such a claim against the Federal Defendants is against the United States

under 28 U.S.C. §§ 1346(b) and 2671 et seq., the Federal Tort Claims Act (FTCA)

and 42 U.S.C. § 233(a).

      6.      Under the FTCA, only United States District Courts have jurisdiction

over such claims as are made in the above-captioned State Court of Dougherty

County, Georgia case against the Federal Defendants.

      7.      Congress has provided in 42 U.S.C. § 233(c) that such an action

commenced in a State court shall be removed to the proper United States District

Court upon certification by the Attorney General that defendants were acting in the

scope of their employment at the time of the incident out of which the suit arose.

Under the allegations of the Plaintiff in the above-captioned State Court of

Dougherty County, Georgia case, the proper United States District Court is the

District Court for the Middle District of Georgia, Albany Division.




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      8.       The certification called for by 42 U.S.C. § 233(c), made by the United

States Attorney for the Middle District of Georgia under the said statute and

pursuant to 28 C.F.R. § 15.4(b) is attached hereto as Exhibit B. The above-

captioned civil action is therefore deemed to be one dealt with in the said statute

and regulation.

      9.       Likewise removed herewith are the claims against the Defendants

other than the Federal Defendants, over and against whom or which the United

States District Court for the Middle District of Georgia shall have and exercise

supplemental jurisdiction under 28 U.S.C. § 1367(a), unless and until the said

Court shall direct to the contrary.

      WHEREFORE, defendants, AAPHC and Dr. Tolliver and the United States

of America give notice that the above-captioned action, pending in the State Court

of Dougherty County, Georgia, is removed to the United States District Court for

the Middle District of Georgia, Albany Division, under and pursuant to 42 U.S.C.

§ 233(c).

      This the 9th day of May, 2018.




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                           Respectfully submitted,
                           CHARLES E. PEELER
                           UNITED STATES ATTORNEY
                           MIDDLE DISTRICT OF GEORGIA
                           ATTORNEY FOR THE UNITED STATES
                           AND THE FEDERAL DEFENDANTS



                      By: /s/ Stewart R. Brown
                          Stewart R. Brown
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                         CERTIFICATE OF SERVICE

      I, Stewart R. Brown, Assistant United States Attorney, hereby certify that on

the 9th day of May, 2018, I electronically filed the foregoing Notice of Removal

and Exhibits A and B thereto with the Clerk of the Court using the CM/ECF

system which will send notification of such filing to the following: N/A.

      I also certify that I have mailed by the United States Postal Service the

documents (omitting Exhibit A because they have had those documents) and a

copy of the Notice of Electronic Filing to the following non-CM/ECF participants:

      Attorneys for the Plaintiff:

      Tracey L. Dellacona                    Katherine L. McArthur
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      Macon, GA 31210                        Macon, GA 31210

      Attorney for Defendants Phoebe Physician Group, Inc., Phoebe Putney
      Health System, Inc., Phoebe Putney Health Ventures, Inc., and Phoebe
      Putney Memorial Hospital, Inc.:

      Charles K. Wainright, II
      Watson Spence LLP
      P. O. Box 2008
      Albany, GA 31702-2008

      Attorney for AAPHC and Dr. Cheryl G. Tolliver:

      David N. Nelson
      Chambless, Higdon, Richardson, Katz & Griggs, LLP
      P. O. Box 18086
      Macon, GA 31209-8086
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This 9th day of May, 2018.


                             /s/ Stewart R. Brown
                             Stewart R. Brown
                             Assistant United States Attorney
